Case 1:20-cv-00297-JRS-TAB Document 11 Filed 02/28/20 Page 1 of 4 PageID #: 242




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 SAFECO INSURANCE COMPANY OF                          )
 INDIANA a/s/o INSURED PATRICK                        )
 GILLESPIE, SUSAN GILLESPIE                           )
                                                      )
           Plaintiffs,                                ) Case No. 1:20-CV-00297-JRS-TAB
                                                      )
 v.                                                   )
                                                      )
 FTL, INC. d/b/a SOLEUS NA, TCL                       )
 DELONGHI HOME APPLIANCES                             )
 (ZHONGSHAN) CO., LTD., DELONGHI                      )
 AMERICA, INC., TCL HOME                              )
 APPLIANCES (NORTH AMERICA)                           )
 COMPANY LIMITED, SOLEUS                              )
 INTERNATIONAL, INC., SOLEUS N.A.,                    )
 MJC AMERICA, INC., MJC AMERICA,                      )
 LTD. d/b/a SOLEUS INTERNATIONAL,                     )
 MJC AMERICA HOLDINGS CO., INC., and                  )
 MENARDS, INC.,                                       )
                                                      )
           Defendants.

 PLAINTIFF’S OBJECTION TO DEFENDANT, MENARDS, INC.’S NOTICE OF
                           REMOVAL

         Plaintiff, Safeco Insurance Company of Indiana, a/s/o Patrick Gillespie and Susan

 Gillespie (Safeco), by counsel, objects to Defendant, Menards, Inc.’s attempt to invoke this

 Court’s diversity jurisdiction herein as reflected by its Notice of Removal (ECF No.1) and in

 support thereof states as follows.

      A. Menards has failed to plead the principal places of business of incorporated
         co-Defendants and the citizenship of all partners of unincorporated co-
         Defendants required to invoke the Court’s diversity jurisdiction.

         A party seeking to invoke diversity jurisdiction under 28 U.S.C § 1332 must present a

 claim between parties of diverse citizenship that exceeds the jurisdictional amount. Arbaugh v.

 Y&H Corp., 546 U.S. 500, 513 (2006). The citizenship of an unincorporated association is

 “the citizenship of all the limited partners, as well as of the general partner.” Hart v. Terminex
Case 1:20-cv-00297-JRS-TAB Document 11 Filed 02/28/20 Page 2 of 4 PageID #: 243



 Int’l, 336 F.3d 541, 542 (7th Cir. 2003). Menards has failed to properly plead the citizenship of

 any of the other co-Defendants in this action.

         Menards must properly plead, for each co-Defendant, the foreign or domestic state

 of incorporation and the foreign and the foreign domestic state in which it has its principal

 place of business for the Court to determine if diversity of jurisdiction exists. Similarly, as

 noted in the Court’s prior Order to Show Cause, for each unincorporated co-defendant,

 Menards must properly plead the citizenship of all their partners.

     B. Menards petition for removal fails to include all of the co-defendants and it has
        failed to provide any explanation for their absence.

         As a general rule, all defendants must join in a removal petition in order to effect

 removal. N. Ill Gas Co. v. Airco Indus. Gases, 676 F.2d 270, 272 (7th Cir. 1982). A petition filed

 by less than all the named defendants is considered defective it if fails to contain an

 explanation for the absence of co-defendants. Id. at 273. Menards has failed to add any of its

 co-defendants to the notice of removal and has failed to provide any explanation for their

 absence. Absent unanimity among the defendants for removal to federal court, Menards’

 petition must fail.

         Wherefore, Plaintiff respectfully requests that the Court deny Defendant, Menards,

 Inc.’s Petition for Removal and that the Court refuse to accept diversity jurisdiction herein.

 Date:    February 28, 2020                                         /s/ Edgar R. Lantis
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Case 1:20-cv-00297-JRS-TAB Document 11 Filed 02/28/20 Page 3 of 4 PageID #: 244



                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 28, 2020, the forgoing has been filed through the
 Court’s ECF system and notice has been electronically served on all counsel of record.
 Parties may access this filing through the Court’s system.

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 China

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 Soleus International, Inc.
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 Soleus N.A.
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 Walnut, CA 91789

 MJC America Holdings Co., Inc.
 c/o Charely Loh
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 Menards, Inc.
 c/o Jessica N. Hamilton
 KOPKA PINKUS DOLIN PC
 550 Congressional Boulevard, Suite 310
 Carmel, IN 46032
Case 1:20-cv-00297-JRS-TAB Document 11 Filed 02/28/20 Page 4 of 4 PageID #: 245



                                            /s/ Edgar Lantis
                                    By: ___________________________
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